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There were times when Ms. Mason-Hobbs and I

 

had conversations regarding the specifics of her

conditions of supervision, but it was a1ways, in my

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;ppinion, a cordia1 conversation, which we parted with an
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anderstanding of what the expectations were.

Q. You said »- we11, what day did she begin her

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three-year probationary period?

 

 

 

 

aj 8 A. August the 5th of 2016.
§§ 9 Q. Okay. And -- and did you warn her that she
10 cou?d not vote when she was on supervision?
11 A. No, we did not.
12 Q. Why not?
13 A. That is not a standard part of the procedures

14 during an initia1 intake to begin supervised re1ease.

15 That's just not something we do. In my opinion, that's

16 common know1edge, but that's -~ that's not something we
17 do.

18 Q. Had Ms. Mason-Hobbs been meeting with a -~

19 her -- her probation officer?

20 A. Yes, yes.

21 Q. Is it fair to say that she knows that she's on

22 probation?
23 A. She -- she understands that and knows that
24 she's on a term of supervised re1ease, correct.

25 Q. And had she been re1eased from that supervision

 

 

 

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OFFICIAL COURT REPCRTER ~ 432§\'D DISTRICT COURT

